Case 2:10-md-02179-CJB-DPC Document 11734-15 Filed 10/25/13 Page 1 of 3

EXHIBIT “N”
Case 2:10-md-02179-CJB-DPC Document 11734-15 Filed 10/25/13 Page 2 of 3

KIRKLAND & ELLIS LLP

ANQAFFILIATERT PARTNERSHIPS

300.Noith LaSalle Street:
Chicago; Minds. 60654.

Christopher. Eabrook.

(342) 862-2060 Facsimile:
(342) 862:2200

: B20 |
christopher esbrook@kinkland. cori DaWw:kirkland, com

October 3, 2011

1001 Wi Pinhook: Rodi .
PO: Box ! 050
Lafayette; Lo

Dear Mr:']

As:you Lios' ‘BP and T idewater aan h LE Goat sales’ toa i Master Time Sela which
is. relevarit hi e. Under the Master Time: Charter,. Tidewater must dé fend; indemnify. and! Hit BP
harmless from all claims for’ personal injury brought: by "Tidewater Marine employees or:
contractors. related to work-performed underthe® Master Time Charter. On'June 25; 2010, ‘BP
tendered: the defense!df.such claims to" Pidewater Matine. ‘Consistent with Tidewater Marine’ 3
duty to'defend and indemnif y. BP inthe case referred to above, BP.asks that Tidewater Marine
promptly. resolve the clai m-referenced above'in BPs best interest. BP does'not. contr ol the GECF
and cannot. preventit from making 3 settlement offers) BP again: requests that Tidewater. Marine
aim referenced above, as: ‘well as any othér personal injury, claims brought by”
Tidewater Mari ine ‘employees or contractors in the. GCCE sonsistent with: BRS best. ‘interest. It
Tidewater Marine does nal fesolve these claims, BP. expect hat. Tidewater ‘Marine will
indemnify BP forall BP funds: the GCCE \pays to settle these. claims.

Hong Kong london Los'Angélés. <Munith’. New-York Palo Allo. “San Francisco: : Shanghai Washington, D.C.
10-md-02179-CJB-DPC Document 11734-15 Filed 10/25/13 Page 3 of 3

Case 2

